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Entered: June 3rd, 2022
Signed: June 3rd, 2022

SO ORDERED




                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF MARYLAND
                                                        at Baltimore

              In re:                                              *   Case No. 21-15765-MMH
              Frida Naah Ngam,                                    *   Chapter   7
                                       Debtor.                    *
                  *      *     *         *       *   *   *        *
              Nationwide Judgment Recovery, Inc.,                 *
                                       Plaintiff,                 *
              vs.                                                 *   Adversary No. 22-00062-MMH
              Frida Naah Ngam,                                    *
                                   Defendant.                     *
              *          *         *         *       *       *    *     *       *      *      *       *       *

                             SCHEDULING ORDER AND RULE 26(f) REPORT APPROVAL

         For good cause appearing, IT IS ORDERED

         1.           The parties’ Rule 26(f) Report (the “Report”) filed in this adversary proceeding is approved.

         2.           The parties are required to observe all deadlines and scheduled dates set forth in the Report.

         3.           A Status Report from counsel setting forth fully the status of the case is due on September
                      2, 2022.
         4.           The parties shall file with the Court and serve on all parties an exhibit list and a list of
                      witnesses by November 14, 2022.
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5.    The Court will enter separately on the docket information concerning the protocol and
      supplemental protocol for the trial.
6.    Any exhibits shall be filed in accordance with the protocol and supplemental protocol.
7.    Exhibits not objected to in writing by November 21, 2022, will stand as admitted into
      evidence.
8.    The trial is scheduled for November 30, 2022, at 10:00 a.m., by videoconference.
9.    Copies of all pleadings are to be served on the Office of the U.S. Trustee at 101 West
      Lombard Street, Suite 2650, Baltimore, Maryland 21201.


cc: All Parties
                                         End of Order
